                                                                       ^ WO 02 943
                                                                      -^




 STATE OF NORTH CAROLINA                              IN THE GENERAL COLTR.T OF JUSTICE

                                                          SUPERIOR COURT DIVISION
 COUNTY OF DURHAM                                                18CVS.

                               2819 KAV 30 P 4^ 05
 KATHRYNMCHUTCHISON )
                               DURHAM CO., C4C.
                               fyc
                               Plamfrff,"'
                                                  )               COMPLAINT
                V.                                )           (Jury Trial Demanded]
                                                  )
SPENCER SCHAR                                     )
                                                  )
                                                  )
                                                  )
                              Defendants.         )



        NOW COMES, the Plaintiff, by and through counsel of record, complaining of the

Defendant as follows;

                                   JURISDICTION & VENUE

        l. The Plaintiff, Kafhiyn "Kit" McHutchison (hereinafter "Kit" or "Ms.

McHutchison") is a resident of Durham County, North Carolina, where she maintains her home

address. Ms. McHutchison is a student at Elon University in Elon, North Carolina.

       2. Upon iuformation and belief, Defendant Spencer Schar is a resident ofAlamance

County, North Carolina.

       3. Venue is proper pursuant to N.C. Gen. Stat. § 1-82, and the Court has jurisdiction

over the parties and subject matter of this action.




                                                                                    Page 1 of 12




      Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 1 of 12
                             FACTS RELEVANT TO ALL CLAIMS

        AH of the following allegations are made upon good faith information and belief.

        4. On October 20^ 2017, Plaintiff was planning to attend a party with friends from

her sorority. Prior to attending the party, plaintiff and several friends went to the apartment of

her sorority sisters, SaUy Collemore Chereinafter "Sally") and Carrigan Bain (hereina'fter

"Camgan").


        5. Kit, Safly and the other members of the sorority had invited dates to attend the

party -with them, and to socialize together prior to the party at Sally's apartment.

        6. Kit's date that night was a friend and fellow student at EIon University named

Nate Joslin (hereinafter "Nate"),

       7. Sally's date that night was Defendant Schar.

        8. After Kit, Sally and Nate had arrived at Sally's apartment that evening, the

Defendant arrived.


       9. Defendant Schar previously had been drinking alcoholic beverages and was

intoxicated at the time he arrived at Sally's apartment.

       10. Defendant Schar was 20 years of age at the time and was violating the law by

drmldng underage.

       il. Defendant Schar was staggering and had altered gait at the time he arrived at

Sally's apartment.


       12. Upon arrival at Sally's aparttnent, Defendant Schar told Kit, Sally, Nate and die

others present thM he had "been drinldng for two hours" and that he had "drank 5 beers."

       13. After Defendant Schar's arrival, individuals at the apartment began drinking

mixed vodka drinks and Defendant Schar drank multiple vodka drinks.




                                                                                       Page 2 of 12




      Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 2 of 12
        14. Kit was 21 years old at the time and was thus actmg legally in consuming

 alcoholic beverages. At aU times, Kit consumed said beverages in a responsible manner, she

 never became intoxicated, and she never acted in an intoxicated manner.


        15. Defendant Schar was drinMag- excessively at Sally's apartment and was

 encouraging others to drink and "take shots" with him. Kit did not do so.

        16. After remaining at Sally's apartment for one to two hours, it was time for the

sorority party to begin, and everyone fvow. Sally's apartment began walldng to the location of the

party, which was withm waUdng distance.

        17. The sorority party was at a house with a large wedding tent set up outside with a

wooden dance floor where people could dance while a DJ played music.

        18. Defendant Schar was walking around the party holding a botde of vodka and

drmkmg voctka straight from the botde.

       19. Defendant Schar continued to drinlt alcohol at the party.

       20. Defendant Schar was staggering and having trouble walking and talking while at

the party.

       21. Approximately 30 minutes after arriving at the party, Defendant Schar fell on his

face on the dance floor around people who were dancing.

       22. Upon seeing Defendant Schar on the floor and concerned for his safety, Kit and

Sally, neither of whom was impaired, helped Defendant Schar up and planned to walk him back

to his home and help him get safely to bed before Kit and Sally would return to the party.

       23. Kit and SaUy assisted Defendant Schar with walking out of the party tent as he

was staggering and loudly talkmg saying "I don't want to leave."

       24. Nate came outside to see what was going on with Defendant Schar, and Kit briefly

left Sally and Defendant Schar to speak with Nate about the situation.




                                                                                      Page 3 of 12




      Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 3 of 12
          25. At this time, Defendant Schar violently grabbed Safly by the throat and choked

 her, and then forcibly pressed her body up against the wajl of the house while choking her.

         26. Defendant Schar released his chokehold of Sally's neck when Kit returned. Kit

 did not witness the choking but could tell upon her return that something bad and physical had

just occurred and that Sally was upset. Sally told Kit that Defendant Schar was being aggressive

and "always like this when he is drunk" and just needed to go home.

         27. SaUy arranged for an Uber taxi ride for Defendant Schar to take him back to his

residence.

         28. While waiting for the Uber to arrive, Defendant Schar slapped SaUy in the face.

         29. Carrigan came out and met Sally after she was slapped in. the face and took her

away from Defendant Schar while Nate and Kit contmued to wait with Defendant Schar by the

street at a concern for his own safely.

         30. Nate called a friend who was a designated driver for the night and asked that he

come to the scene to pick up Defendant Schar and drive him home.

         31. While Nate was on the phone with the designated driver, Kit calmly told

Defendant Schar that he needed to settle down and "chiU out."

         32. In response, and witiiout warning, Defendant Schar punched Kit full force in the

stomach.

         33- Defendant Schar then, -without warning, kicked Kit in the stomach.

         34. Defendant Schar then, without warning, punched Kit full force and directly in her

face.


         35. Defendant Schar's punches to Kit's face and stomach, and kick to Kit's stomach,

were completely unprovaked.




                                                                                     Page 4 of 12




        Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 4 of 12
         36. In the moments before the punches and Idclcs lauded, Kit apprehended that

 Defendant Schar was about to punch and kick her and could do nothing to stop being violently

 attacked by Defendant Schar in this way.

        37- Kit began bleeding from the mouth, caused by the force of the punch from

Defendant Schar.


        38. Kit screamed and told Nate that she has just been attacked and punched in the

face by Defendant Sdiar.

        39. Defendant Schar approached Kit again, and Nate was forced to intervene and try

to protect Kit, who was defenseless and far outmatched physically by Defendant Schar in- his

drunken, and enraged state. Nate intervened 'by pushing Defendant Schar to the ground.


        40. Defendant Schar began cussing and said to Nate "my dad will MU you."

        41. Nate helped Defendant Schar up off the ground and reached to pick up his phone

that had fallen to the ground. Defendant Schar then punched Nate in the face when Nate was

not looking. Nate fell to the ground with the force of the punch.

       42. The designated driver's veMcle called by Nate arrived at the scene.

       43. Nate's friend Sam Shaw (hereinafter "Sam") was in the car with the designated

driver and witnessed Defendant Schar punch Nate in the face •when Nate was defe&seless and

wasnotlooldng.


       44- Acting in the defense of others to try to protect them from the violent and

-anprovoked attacks of Defendant Schar, Sam ran from the car and tackled and punched

Defendant Schar to stop him from attackmg anyone else. Sam's reasonable and heroic action

caused Defendant Schar to finally cease his violent attacks on others.

       45- Defendant Schar was helped mto the designated driver's car and driven to his

residence.




                                                                                  Page 5 of 12




     Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 5 of 12
          46, Defendant Schar caused bodily injuries to Kit, Sally and Nate on the night of

 October 20, 2017, and caused Plaintiff to suffer harmful and painful emotional suffering, terror,

 and distress..


         47- Defendant Schar voluntarily became intoxicated and was never forced by anyone

to consume auy alcohol or other mtoxicating substance. Any and all intoxication of Defendant

Schar was a result of his own intentional, conscious and voluntary decisions.


         48. Defendant Schar made the conscious, voluntary and intentional choice to punch

and Mclc Kit.

         49- Defendant Schar made the conscious, voluntary and intentional choice to choke

and slap Sally.

         50. Defendant Schar made the conscious, voluntary and intentional choice to punch

Nate.

         51. Kit never did anything to cause Defendant Schar to become intoxicated and never

provided any alcohol to Defendant Schar.

         52. Kit was above the legal age for drinking alcohol on October 20, 2017 and,

although she did socially consume some alcohol, was not intoxicated at the time of Defendant

S char's unprovoked and violent attack on her.


         53. Kit never did anything to provoke Defendant Schar or justify his use of violence

against her.


         54- Kit never used any physical force or any threat of physical force against

Defendant Schar.

         55- At all times relevant to the events alleged herein, Kit conducted herself m a safe,

reasonable and prudent manner.




                                                                                    Page 6 of 12




        Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 6 of 12
        56. Shortly after the mcident, Eton University became aware that Defendant Schar

had allegedly assaulted and battered two female students of Elon University, as well as a male

student.

        57. Elon University conducted an internal investigation into the events of October

20, 2017 and, upon mformation and belief, rather than expel Defendant for his shocking

wrongful conduct, Elon University instead chose to suspend Defendant Schar for only one

semester as a result. Elon University suspended student Sam Shaw for an entire year for his


coming to the defense of his fellow students.

        58. Prior to October 20, 2017, Defendant Schar's family donated several millions of

dollars to Elon University, including mating such a sizable donation that the basketball arena at

the University was named the "Schar Center." The Schar family, upon information and belief,

exerts great influence and power over Elon University

       59- Upon information and belief, Defendant Schar, through himself or his agents, has

communicated false infonnation to people at Elon University about the events of October 20,

2017. The false information communicated Ly Defendant Schar and/or his agents regarding the

October 26, 2017 incident has caused Kit to suffer additional emotional and mental harm. and

has caused representatives from Elon University to scrutinize the accounts of her and the other

victims based on their biased reliance on the false information from Defendant Schar.

       60. In addition, Kit remains fearful of Defendant Schar, who is still allowed to attend

Elon University and may, at any time, encounter, intimidate, or retaliate against Plaintiff.

       6l. As a result of the power and influence over the University exerted by Defendant

Schar and his family, Kit has been in reasonable fear and worry that the University will

improperly take action against her and her friend who did nothing -wrong in this incident. This

has been borne out by University investigators calling Kit into multiple interrogation sessions,

demanding to know whether she or anyone else forced Defendant Schar to drink that night, or



                                                                                       Page 7 of 12




     Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 7 of 12
 whether Kit had done anything improper. In addition, the University also interrogated Sam

 Shaw, who heroicaUy acted to stop Spencer Schar in defense of others. The result of these

 "investigations" is that Elon chose to disproportionately suspend Sam for the entire year, and

only suspend Defendant for one semester.


        62. As a direct and proximate result of the wrongful and negligent conduct of

Defendant Schar, Plaintiff suffered bodily injuries, physical pain, mental and emotional

suffering, medical expenses, and other damages as may be proven at trial in excess of

$25,000.00.

                                 FIRST CLAIM FOR RELIEF
                                 Battery by Defendant Schar

        63. The preceding and foregoing allegations are incorporated ~bfy reference as if set

forth fuUy herein.

       64. Defendant Schar inten.tionalty inflicted harmful or offensive contact upon

Plaintiffs person by striking her violently in the stomach and face by Idcldng and punching her.

       6s. The harmful or offensive contact inflicted upon PlaintifE's person by Defendant

Schar was without Plaintiffs consent.

       66. As a result of the Defendant's conduct as alleged herein, Plaintiff was, in fact,

harmed and highly offended.

       67. As a result of the Defendant's conduct as alleged herein, Plaintiff suffered

physical injury and mental suffering.

       68. As a direct and proximate result of the acts of Defendant as alleged herein,

Plaintiff has suffered bodily injuries, physical pain, mental and emotional suffering, medical

expenses, and other damages as may be proven at trial in excess of $25,000.00.

       69. In committmg the battery alleged herein. Defendant acted intentionally,

deliberately, recldessly, -willfully, wantonly and/or ia a conscious and mtentional disregard to




                                                                                    Page 8 of 12




     Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 8 of 12
 the rights and safety of Plaintiff and others similarly situated and Defendant Schar is liable to

 Plaintiff for punitive damages.

                                   SECOND CLAIM FOR REUEF
                                   Assault by Defendant Schar

        yo. The preceding and foregomg allegations are mcorporated by reference as if set

forth fufly herein.

        71. Defendant intentionally acted with displays of force or violence against

Plaintiff. These displays of force or violence, include but are not Imuted to, the incident alleged

above where Defendant punched Plaintiff in the face and stomach and kicked her in the

stomach.

        72. Defendant Schar's intentional acts as described more fully hereinabove, put

Plaintiff in. actial, subjective apprehension of imminent harmful or offensive contact.

        73- Plaintiffs apprehension was objectively reasonable under the circumstances in

that a person of ordinary care and prudence under the same or similar circumstances would


have believed that harmful, or offensive contact was about to occur.


       74- Defendant's actions proximately caused Plaintiff harm.

       75. As a direct and proximate result of the acts of Defendant as alleged herein,

Plaintiff has suffered bodily injuries, physical pain, mental and emotional suffering, medical

expenses, and other damages as may be proven at trial in excess of $25,000.00.


       76. In committing the assault alleged herein. Defendant acted mtentionaUy,

deliberately, recklessly, willfully, wantonly and/or in a conscious and intentional disregard to

the rights and safety of Plaintiff and others similarly situated and Defendant Schar is liable to

Plaintiff for punitive damages.




                                                                                      Page 9 of 12




      Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 9 of 12
                                THIRD CLAIM V€W KTCT.TP.P
                    Negligence, Negligence per se, Gross Negligence, and
                      WiUful or Wanton Conduct of Defendant Schar

         77. The allegations set forth m the preceding and foregoing paragraphs are re-alleged

 and incorporated by reference as if fully set forth herein.

         78. At all times relevant to this action, Defendant Schar owed Plaintiff and others

around him a duty to not drink alcohol under the legal age, to not become intoxicated, to not

threaten or physically attack them, and to not threaten or inflict harm upon them as a result of

his conduct.

        79. At the tune and place complained of. Defendant Schar was negligent, grossly

negligent, and acted wfflfally and wantonly, in that he: consciously chose to get mtoxicated and

then acted in a violent and aggressive manner towards Plaintiff and others, as alleged herein.
                                                           (
        8o. At the time and place complained of. Defendant Schar was negligent, grossly

negligent, and acted willfully and wantonly, in that he failed to act in a reasonable and prudent

way to prevent causing harm to others.

        8l. At the time and place complained of, Defendant Schar was negligent, grossly

negligent, and acted willfully and wantonly, m that he failed to exercise the degree of care which

a reasonable and prudent person would have exercised under the same or similar circumstances.


        82. At the time and place complained of. Defendant Schar was negligent, grossly

negligent, and. acted wiUfully and wantonly, in that he committed an assault of a female m

violation of N.C. Gen. Stat. § l4-33Cc:)(2). Defendant's failure to comply with N.C. Gen. Stat. §

14-33 (c) (2) is negligence per se.

        8s. At the time and place complained of, Defendant Schar was negligent, grossly

negligent, and acted willfully and wantonly, in that he committed an assault and battery in

violation ofN.C. Gen, Stat. § 14-33 (a). Defendant's failure to comply -with N.C. Gen. Stat. § 14-


33(c)(2) is negligence per se.



                                                                                    Page 10 of is.




     Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 10 of 12
          84. At the time and place complained of, Defendant Schar, was negligent, grossly

 negligent, and acted willfully and wantonly, m that he breached duties of care and diligence that

 she owed to the Plaintiff.

         85. At the time and place complained of, Defendant Schar was negligent, grossly

negligent, and acted willfully and wantonly, in that he was otherwise careless and negligent as

will be proven through discovery of the evidence or at trial.

         86. Defendant's conduct as described herein was negligent, grossly negligent,

recldess, wiUfuI and wanton,

         87. As a direct and proximate result of the negligence, negligence per se, gross

negligence, reckless conduct, and willful and wanton conduct of Defendant as alleged herein,

PIamtiff has suffered bodily mjuries, physical pain, mental and emotional suffering, medical

expenses, and. other damages as may be proven at trial in excess of $25,000.00.


         88. In committing the negligence, negligence per se, gross negligence, reckless

conduct, and willful and- wanton conduct alleged herein, Defendant acted intentionally,

deliberately, recldessly, willfatly, wantonly and/or in a conscious and intentional disregard to

the rights and safety of Plaintiff and others similarly situated and Defendant Schar is liable to

Plaintiff for punitive damages.

                                     PUNITIVE DAMAGES

        8g. The preceding and foregoing paragraphs are incorporated by reference as if -fuUy

set forth herein.

        90. Pursuant to N.C.G.S § lD-1 et. seq., as a direct and proximate result of the grossly


negligent, reckless, intentional, wfflful and/or wanton conduct of Defendant Schar, as weU as his

conscious disregard of the health and safety of Plaintiff and others as alleged herein, Plaintiff is

entitled to recover punitive damages from Defendant in an amount later to be determined by the

finder of fact at trial.



                                                                                      Page 11 of 12




      Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 11 of 12
                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against the Defendant as follows:

l. That Plaintiff have and recover judgment against Defendant for compensatory damages

       in an amount m excess ofTWENTy-FWE THOUSAND DOLLARS ($25,000.00);

2. That the costs of this action, to include prejudgment and post-judgment interest and all

       other costs incurred and allowed by law, be taxed to the Defendant;

3. For punitive damages as may be allowed by law;

4. For reasonable attorney's fees as may be allowed by law,

5. For any and all costs, expenses and interest as may be allowed by law;
                                                                                              I
6. That all issues of fact be bied to a jury; and

7. For such other and further relief as the Court deems just and proper. |


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       This is the ?°^davof //t^/? .2018. • |




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                                                             ,7'wA--
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                                                                              Page la of 12




    Case 1:18-cv-00507-LCB-JEP Document 7 Filed 06/15/18 Page 12 of 12
